Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 1 of 15




      Exhibit 1
                            Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 2 of 15
MAJORITY MEMBERS:                                                                                       MINORITY MEMBERS:

VIRGINIA FOXX, NORTH CAROLINA,                                                                          ROBERT C. “BOBBY” SCOTT, VIRGINIA,
Chairwoman                                                                                              Ranking Member

JOE WILSON, SOUTH CAROLINA                                                                              RAÚL M. GRIJALVA, ARIZONA
GLENN THOMPSON, PENNSYLVANIA                                                                            JOE COURTNEY, CONNECTICUT
TIM WALBERG, MICHIGAN                                                                                   GREGORIO KILILI CAMACHO SABLAN,
GLENN GROTHMAN, WISCONSIN                                                                               NORTHERN MARIANA ISLANDS
ELISE M. STEFANIK, NEW YORK                                                                             FREDERICA S. WILSON, FLORIDA
RICK W. ALLEN, GEORGIA                                                                                  SUZANNE BONAMICI, OREGON
JIM BANKS, INDIANA                                                                                      MARK TAKANO, CALIFORNIA
JAMES COMER, KENTUCKY                                                                                   ALMA S. ADAMS, NORTH CAROLINA
LLOYD SMUCKER, PENNSYLVANIA                                                                             MARK DESAULNIER, CALIFORNIA
BURGESS OWENS, UTAH
BOB GOOD, VIRGINIA
                                               COMMITTEE ON                                             DONALD NORCROSS, NEW JERSEY
                                                                                                        PRAMILA JAYAPAL, WASHINGTON
LISA C. MCCLAIN, MICHIGAN
MARY E. MILLER, ILLINOIS
MICHELLE STEEL, CALIFORNIA
                                       EDUCATION AND THE WORKFORCE                                      SUSAN WILD, PENNSYLVANIA
                                                                                                        LUCY MCBATH, GEORGIA
                                                                                                        JAHANA HAYES, CONNECTICUT
RON ESTES, KANSAS                               U.S. HOUSE OF REPRESENTATIVES                           ILHAN OMAR, MINNESOTA
JULIA LETLOW, LOUISIANA                                                                                 HALEY M. STEVENS, MICHIGAN
KEVIN KILEY, CALIFORNIA                       2176 RAYBURN HOUSE OFFICE BUILDING                        TERESA LEGER FERNÁNDEZ,
AARON BEAN, FLORIDA                                                                                     NEW MEXICO
ERIC BURLISON, MISSOURI                            WASHINGTON, DC 20515-6100                            KATHY E. MANNING, NORTH CAROLINA
NATHANIEL MORAN, TEXAS                                                                                  FRANK J. MRVAN, INDIANA
JOHN JAMES, MICHIGAN                                                                                    JAMAAL BOWMAN, NEW YORK
LORI CHAVEZ-DEREMER, OREGON
BRANDON WILLIAMS, NEW YORK
ERIN HOUCHIN, INDIANA


                                                          January 24, 2024


               Mr. Ramanan Raghavendran
               Chairman
               Board of Trustees
               1 College Hall
               Philadelphia, PA 19104

               Dr. Larry Jameson
               Interim President
               University of Pennsylvania
               1 College Hall
               Philadelphia, PA 19104

               Dear Mr. Raghavendran and Dr. Jameson,

               As you are aware, the Committee on Education and the Workforce (the Committee) is
               investigating the University of Pennsylvania (Penn) for its response to antisemitism occurring on
               its campus and its failure to protect Jewish students attending the university. We have grave
               concerns regarding the inadequacy of Penn’s response to antisemitism on its campus.

               In testimony before the Committee on December 5, 2023, Penn’s then-President, M. Elizabeth
               Magill, made numerous statements that further called into question the university’s willingness
               to address antisemitism seriously. When asked whether calling for the genocide of Jews would
               violate Penn’s code of conduct, Ms. Magill replied that “it is a context-dependent decision.”1
               When questioned on Penn’s hosting of antisemitic speakers at the September 2023 Palestine
               Writes Literature Festival, Ms. Magill repeatedly provided evasive and indirect answers.2 While
               Ms. Magill and Mr. Scott L. Bok, then-Chairman of Penn’s Board of Trustees have both since
               resigned, Penn’s institutional failures regarding antisemitism extend well beyond two leaders.

               An environment of pervasive antisemitism has been documented at Penn dating back to well
               before the October 7, 2023, terrorist attacks. A December 2023 Brandeis University research
               study that surveyed Jewish students at 51 campuses in the wake of the October 7, 2023, terrorist

               1
                 House Committee on Education and the Workforce, Hearing, Holding Campus Leaders Accountable and
               Confronting Antisemitism, Dec. 5, 2023.
               2
                 Id.
        Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 3 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 2 of 14

attack ranked Penn in its worst category, “Highest antisemitic hostility,” consisting of the most
hostile 25 percent of universities surveyed.3 A civil lawsuit by two Penn students who allege that
Jews on campus “are routinely subjected to vile and threatening antisemitic slurs and chants”
identified dozens of antisemitic incidents at Penn since 2015.4

Penn’s failure to address antisemitism on its campus has been harshly and widely rebuked. In
December 2023, the Board of Advisors at Penn’s Wharton School wrote to then-President Magill
that “our Board has been, and remains, deeply concerned about the dangerous and toxic culture
on our campus that has been led by a select group of students and faculty and has been permitted
by University leadership” and that Penn’s leadership does not “appear to understand the urgency
to address the safety of our students on campus.”5 On December 6, 2023, Pennsylvania Governor
Josh Shapiro stated that Penn’s leaders “have seemingly failed every step of the way to take
concrete action to make sure all students feel safe on campus” and that Ms. Magill’s testimony
“took it to the next level. It’s failed leadership.”6 On December 13, 2023, the Pennsylvania
House of Representatives voted to withhold $31 million in funding from Penn’s School of
Veterinary Medicine due to legislators’ concerns about antisemitism at Penn.7

The pattern of deeply troubling incidents and developments at Penn includes the following:

    •   Penn hosted the Palestine Writes Literature Festival on its campus in September 2023
        with multiple Penn academic departments and centers sponsoring the event,8 including
        through a community partnerships grant by Penn’s Sachs Program for Arts Innovation.9
        The virulent antisemitism of the festival’s executive director and speakers deserve
        detailed mention:

             o The festival’s executive director, Susan Abulhawa, had labeled Israelis
               “human garbage” and stated “I take comfort in knowing without a doubt that
               this colonial apartheid state will eventually be…wiped off the map,” referred
               to the Jewish President of Ukraine Volodymyr Zelensky as a “depraved



3
  GRAHAM WRIGHT ET AL., IN THE SHADOW OF WAR: HOTSPOTS OF ANTISEMITISM ON US COLLEGE CAMPUSES
(2023), https://scholarworks.brandeis.edu/esploro/outputs/report/9924312184701921
4
  Complaint, Yakoby v. University of Pennsylvania, No. 2:23-cv-04789 (E.D. Penn. filed Dec. 5, 2023),
https://www.kasowitz.com/media/focjlca0/university-of-pennsylvania-complaint.pdf.
5
  Letter to M. Elizabeth Magill, President, University of Pennsylvania, from Wharton Board of Advisors (undated).
6
  Hayden Mitman, At Philly's Goldie, Gov. Shapiro condemns Penn president's ‘shameful' remarks to Congress,
NBC Philadelphia, Dec. 6, 2023, https://www.nbcphiladelphia.com/news/politics/at-phillys-goldie-gov-shapiro-
condemns-penn-presidents-shameful-remarks-to-congress/3714660/
7
  Ben Binday and Ethan Young, Pa. representatives strike down state funding for Penn Vet amid antisemitism
concerns, Daily Pennsylvanian, Dec. 14, 2023, https://www.thedp.com/article/2023/12/penn-veterinary-medicine-
funding-hold
8
  Penn departments and centers sponsoring the festival included the Department of Near Eastern Languages and
Civilizations, Middle East Center, Cinema and Media Studies Department, Kelly Writers House, and Wolf
Humanities Center.
9
  Sachs Program for Arts Innovation, Palestine Writes Literature Festival: Indigenous Stories of a Fabled Homeland,
https://sachsarts.org/grant-awards/palestine-writes-literature-festival-indigenous-stories-of-a-fabled-homeland.
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 4 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 3 of 14

                 Zionist trying to ignite World War III,” and called to “DeNazify Ukraine.” 10
                 She later celebrated the October 7th terrorist attack, writing, “Palestinian
                 fighters finally broke free on 7 October 2023 in a spectacular moment that
                 shocked the world.”11

             o Numerous festival speakers had lengthy histories of antisemitism prior to the
               event. Speaker Roger Waters has compared Israel to Nazis, performed in a Nazi-
               style uniform, and been condemned by the State Department for his “long track
               record of using antisemitic tropes to denigrate Jewish people.”12 Speaker Marc
               Lamont Hill was previously fired from CNN for calling for “a free Palestine from
               the river to the sea.”13 Speaker Mohammed El-Kurd had accused Zionists of
               having “an unquenchable thirst for Palestinian blood.”14 Speaker Salman Abu
               Sitta had said “Jews were hated in Europe because they played a role in the
               destruction of the economy in some of the countries, so they would hate them.”15

             o Multiple speakers engaged in antisemitic hate speech at the Penn-hosted and
               sponsored festival itself. Speaker Salman Abu Sitta said, “[w]e know where the
               nine million Palestinian refugees are located. So, we then have to ask the second
               question: Who lives in their land? Who lives – the settlers from Europe.”16 Abu
               Sitta also said, “And what are we going – how are we going to deal with the Jews
               – the majority of Jews – who are there? The answer is – could be – simple. They
               could live in cantons.”17 Speaker Tom Suarez said, “I think the main point – and
               something else that needs to be stated over, and over, and over again – is that the
               Zionist movement needs antisemitism – in reality or at least the, the appearance of
               it. Zionism is addicted to antisemitism.”18 Speaker Lorna Munro said, “[p]risoners
               in concentration camps wore yellow armbands, now these same people hold a

10
   Justin Amier and Tammy Reznik, Writers festival must not embrace anti-Semitic hate, AIJAC, Feb. 20, 2023,
https://aijac.org.au/op-ed/writers-festival-must-not-embrace-anti-semitic-hate; Susan Abulhawa, STOP ANTISEMITISM
(March 31, 2023), https://www.stopantisemitism.org/antisemite-of-the-week-10/susan-abulhawa.
11
   Susan Abulhawa, Israel is on its colonial deathbed, ELECTRONIC INTIFADA (Oct. 12, 2023),
https://electronicintifada.net/content/israel-its-colonial-deathbed/38746
12
   Roger Waters In His Own Words, ANTI-DEFAMATION LEAGUE (Jul. 18, 2017), https://www.adl.org/resources/fact-
sheet/roger-waters-his-own-words; Matthew Lee, US weighs in on Roger Waters antisemitism debate, says artist has
long history of denigrating Jews, ASSOCIATED PRESS (Jun. 6, 2023), https://apnews.com/article/us-germany-roger-
waters-antisemitism-3aa8d1dadf8d633f2c3274a6a8f9ef6f.
13
   Marc Lamont Hill fired from CNN after his speech on Israel draws outrage, NBC NEWS (Nov. 30, 2018),
https://www.nbcnews.com/news/us-news/marc-lamont-hill-fired-cnn-after-his-speech-israel-draws-n942151-
n942151
14
   Mohammed El-Kurd, ANTI-DEFAMATION LEAGUE (Dec. 16, 2021),
https://www.adl.org/resources/backgrounder/mohammed-el-kurd.
15
   Dion J. Pierre, ‘Are Most Jews Evil?’: Top US University Hosting ‘Palestine Literature Festival’ Featuring Avid
Anti-Zionists, ALGEMEINER (Sept. 12, 2023), https://www.algemeiner.com/2023/09/12/are-most-jews-evil-top-us-
university-hosting-palestine-literature-festival-featuring-avid-anti-zionists/; UPenn to Host Conference with
Multiple Antisemitic, Terror-tied Speakers
16
   Palestine Writes Exposed, https://www.palestinewritesexposed.com.
17
   Salman Abu Sitta, The Right of Return and How to Achieve It, Presentation at Palestine Writes Festival (Sept. 23,
2023).
18
   Palestine Writes Exposed, supra note 16.
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 5 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 4 of 14

                 monopoly over politically divided lands.”19 Speaker Dana Dajani said, “[w]hen
                 your IDF soldiers are toasting l’chaim, Palestinian children are dying.”20

     •   There have been multiple incidents of antisemitic vandalism and harassment at Penn in
         recent months:

             o On September 14, 2023, a swastika was found spray painted on a wall in Penn’s
               Stuart Weitzman School of Design.21

             o On September 21, 2023, the day before the Palestine Writes Festival, an
               individual was arrested for vandalizing Penn Hillel (Penn’s center for Jewish life)
               and shouting antisemitic obscenities, including “fuck the Jews” and “they killed
               JC.”22 The perpetrator is reportedly a Penn student.23

             o On October 20, 2023, the property next to the Alpha Epsilon Pi house, a
               historically Jewish fraternity, was vandalized with antisemitic graffiti saying “The
               Jews R Nazis.”24

             o On October 28, 2023, a Penn undergraduate stole an Israeli flag from a Campus
               Apartments residence and was subsequently arrested on November 4.25 The same
               student was captured on video praising what she called “joyful and powerful
               images which came from the glorious October 7” and saying “I want you all to
               remember how you felt when you saw those images and heard the news. I
               remember feeling so empowered and so happy, so confident that victory was near
               and so tangible.”26

             o On November 6, 2023, multiple Penn staff members received antisemitic emails
               threatening violence against Penn Hillel and Lauder College House, a dormitory
               named in honor of a family of prominent Jewish philanthropists, prompting an

19
   Id.
20
   Id.
21
   Hope Sheridan and Paige Rawiszer, Penn investigating antisemitic vandalism next to AEPi house as potential hate
crime, DAILY PENNSYLVANIAN (Oct. 21, 2023), https://www.thedp.com/article/2023/10/penn-aepi-campus-
apartments-antisemitic-vandalism-investigation.
22
   Jonah Miller and Jared Mitovich, Penn Hillel vandalized by individual who shouted 'antisemitic obscenities,'
knocked over furniture, DAILY PENNSYLVANIAN (Sept. 21, 2023), https://www.thedp.com/article/2023/09/penn-hillel-
vandalism-incident.
23
   Jessica Costescu, Two University of Pennsylvania Students Were Arrested Over Anti-Semitic Incidents. The School
Won't Say Whether They Faced Disciplinary Action, WASHINGTON FREE BEACON (Jan. 15, 2024),
https://freebeacon.com/campus/two-university-of-pennsylvania-students-were-arrested-over-anti-semitic-incidents-
the-school-wont-say-whether-they-faced-disciplinary-action.
24
   Sheridan, supra note 21.
25
   Costescu, supra note 23.
26
   James Reynolds, Outrage as UPenn Junior passionately endorses Hamas' vile Oct 7 terror attack against Israel
during Philadelphia rally saying: 'I remember feeling so empowered and happy', DAILY MAIL (Nov. 7, 2023),
https://www.dailymail.co.uk/news/article-12719839/UPenn-Junior-endorses-Hamas-Oct-7-terror-attack-Israel-
Philadelphia-rally.html
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 6 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 5 of 14

                 FBI investigation.27

             o On November 8, 2023, anti-Israel groups projected hateful phrases onto university
               buildings, including: "From the river to the sea, Palestine will be free," "Zionism
               is racism," "Penn funds Palestinian genocide," and "From West Philly to
               Palestine, occupation is a crime."28

             o In November 2023, hundreds of “Missing Cow” posters were posted on Penn’s
               campus, appearing to mock widely distributed “Kidnapped” posters featuring
               Israeli hostages abducted by Hamas. The posters were similar in design and
               appearance to the “Kidnapped” posters, featured a silhouette of a cow with the
               words “beef dinner” and offered a “reward” of “a box of chalk and a can of
               beer.”29 Penn faculty and staff have also been identified tearing down posters
               featuring the hostages.30

             o On December 3, 2023, anti-Israel protestors marched across the Penn campus,
               spray painted graffiti saying “intifada,” “avenge Gaza,” and other messages on
               university buildings, and chanted in Arabic “[f]rom water to water, Palestine will
               be Arab” and “[t]he gate of Al-Asqa is made of iron; only the martyr in spirit and
               blood can open it. We sacrifice for you, O Al-Aqsa!”31

     •   Multiple Penn faculty made antisemitic remarks and statements of support for Hamas in
         the aftermath of the October 7, 2023, terrorist attack, including the following:

             o Associate Professor of Arabic Literature Huda Fakhreddine publicly celebrated
               the attack on the morning of October 7, tweeting in Arabic that “while we were
               asleep, Palestine invented a new way of life.”32 At an October 16, 2023, anti-
               Israel protest on Penn’s campus, Fakhreddine said, “Israel is the epitome of
               antisemitism … it desecrates the memory of the Holocaust victims. It humiliates



27
   Alan Yu, Penn police called FBI to help investigate threatening antisemitic emails, WHYY (Nov. 7, 2023),
https://whyy.org/articles/university-of-pennsylvania-fbi-antisemitic-threats-emails-israel-hamas-war/.
28
   Sophia Liu, Penn denounces projections of pro-Palestinian messages onto campus buildings as 'antisemitic',
DAILY PENNSYLVANIAN (Nov. 9, 2023), https://www.thedp.com/article/2023/11/penn-pro-palestinian-projections-
huntsman-hall-penn-commons.
29
   Melissa Koenig, ‘Missing Cow’ posters appearing to mock Israeli hostages plastered around UPenn, NEW YORK
POST (Nov. 22, 2023), https://nypost.com/2023/11/22/news/upenn-vows-to-find-group-responsible-for-missing-cow-
posters/
30
   Isabel Keane, UPenn library staffer caught taking down posters of kidnapped Israelis, NEW YORK POST (Nov. 22,
2023), https://nypost.com/2023/10/18/upenn-student-removing-posters-of-kidnapped-israelis/; Campus Reform,
VIDEO REPORT: UPenn prof takes scissors against Israeli hostage posters, CAMPUS REFORM (Nov. 7, 2023),
https://www.campusreform.org/article/video-report-upenn-prof-takes-scissors-against-israeli-hostage-posters/24325.
31
   Zach Kessel, University of Pennsylvania Students Vandalize School Property, Call for ‘Intifada’, NATIONAL
REVIEW (Dec. 4, 2023), https://www.nationalreview.com/news/university-of-pennsylvania-students-vandalize-
school-property-call-for-intifada.
32
   Huda Fakhreddine (@FakhreddineHuda), Twitter (Oct. 7, 2023, 8:19 AM).
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 7 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 6 of 14

                 every Jewish person.”33 Fakhreddine also applauded a speaker’s statement that
                 Jews should “go back to Moscow, Brooklyn, Gstaad, or fucking Berlin where you
                 came from.”34

             o Creative writing instructor Ahmad Almallah led a crowd of protestors in chanting
               “from the river to the sea, Palestine will be free” and “when people are occupied,
               resistance is justified” at an October 16, 2023, anti-Israel protest.35

             o Professor of Political Science Robert Vitalis, who taught Penn’s course titled
               International Relations of the Middle East in Fall 2023,36 made an October 23,
               2023, Facebook post of a patch displaying the logo of Hamas’ military wing, the
               al-Qassam Brigades, with the caption, “a quick easy way to reduce my friends’ list
               (and it will look cool on your jacket too).”37 Vitalis previously signed a 2011
               petition calling for divestment from Israel.38

     •   On October 11, 2023, Penn Students Against the Occupation released a “Statement of
         Solidarity with Palestine” which asserted, “[t]he settler state has been inflicting violence
         on Palestinians and their land since its inception, and therefore bears sole responsibility
         for the violence which has been taking place this week,” and “Palestinians, like all
         oppressed peoples, have the right to resist their oppressors by any means necessary.”39

     •   On November 14, 2023, a student group calling itself the “Freedom School for Palestine”
         began a weeks-long sit-in at Penn’s student center, Houston Hall, by occupying the
         building for over 12 hours. The group refused to leave the Houston Hall lobby after the
         building closed at midnight, a violation of university policy.40 Penn subsequently allowed


33
   Dion J. Pierre, ‘The Israeli Jew Has Bastardized Judaism’: Pro-Palestinian Rally at UPenn Descends Into
Antisemitism, ALGEMEINER (Oct. 18, 2023), https://www.algemeiner.com/2023/10/18/israeli-jew-has-bastardized-
judaism-pro-palestinian-rally-upenn-descends-antisemitism/; Benjamin Romm, UPenn Prof. Fakhreddine says
Israel Desecrating Memory of Holocaust, YouTube (Oct. 17, 2023),
https://www.youtube.com/watch?v=s_aOa3YRE4c.
34
   Id.
35
   Beni Romm, UPenn Palestine Rally: What the Editorials Won’t Post, TIMES OF ISRAEL (Oct. 18, 2023),
https://blogs.timesofisrael.com/upenn-palestine-rally-what-the-editorials-wont-post/; Benjamin Romm, UPenn Prof.
Almallah Leads Chants of "From the River" and "Resistance is Justified", YouTube (Oct. 17, 2023),
https://www.youtube.com/watch?v=kOlsZ2b926A.
36
   Courses for Fall 2023 (Political Science Department), University of Pennsylvania School of Arts and Sciences,
https://www.polisci.upenn.edu/course-list/2023C.
37
   “Robert Vitalis”, CANARY MISSION, https://canarymission.org/professor/Robert_Vitalis.
38
   Divest from the Israeli Occupation, JEWISH VOICE FOR PEACE, https://wedivest.org/wp-
content/uploads/2011/03/Petition7pp-final2011.pdf.
39
   Penn Students Against the Occupation, Statement of Solidarity, Instagram (Oct. 11, 2023),
https://www.instagram.com/p/CyRkOtoJBxx/.
40
   Katie Bartlett, Penn community members occupy part of Houston Hall in teach-in to promote pro-Palestinian
voices, DAILY PENNSYLVANIAN (Nov. 14, 2023), https://www.thedp.com/article/2023/11/penn-students-faculty-staff-
occupy-building; Vidya Pandiaraju, et al., Five pro-Palestinian student activists remain in Houston Hall overnight
after Penn threatens arrests, DAILY PENNSYLVANIAN (Nov. 15, 2023), https://www.thedp.com/article/2023/11/penn-
freedom-school-palestine-houston-hall-overnight.
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 8 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 7 of 14

         members of the group with Penn IDs to remain in the building overnight without arrest or
         removal.41 The sit-in continued daily until at least mid-December and included programs
         on “The False Narrative of Palestinian Antisemitism” and “Jewish Supremacy in
         Israel/Palestine.”42 Multiple Penn staff donated money to the so-called “Freedom
         School.”43

     •   Penn’s Jewish undergraduate population has fallen dramatically from approximately
         2,500 students in 2013 to 1,600 in 2023, according to estimates from Hillel
         International.44 This constitutes a decrease from around 25 percent of the undergraduate
         student body to 16.4 percent.45 In February 2023, leaders of Penn Hillel met with parents
         and alumni about the decline in Jewish enrollment, especially among Orthodox students.
         Penn Hillel’s executive director reported having “dozens if not a hundred” conversations
         with parents concerned by the decline and said that given the historic levels of
         antisemitism on college campuses, “[w]e are deeply concerned that a decline in Jewish
         students at this exact moment … both sends the wrong message and concretely
         negatively affects the lived experience of Jewish students on campus.”46

     •   Penn’s Middle East Center has continued to fund the nonprofit Middle East Studies
         Association (MESA) as an institutional member, despite MESA’s March 2022 ratification
         of a resolution in support of the boycott, divestment, and sanctions (BDS) movement
         against Israel, including an academic boycott of Israeli universities.47

In defense of this disgraceful record, Penn has cited its supposed commitment to free speech. In
former President Magill’s words, Penn claims that it is “guided by the United States
Constitution,” which limits it from taking action against antisemitism on its campus.48 However,
Penn has demonstrated a clear double standard by tolerating antisemitic vandalism, harassment,
and intimidation, but suppressing and penalizing other expression it deemed problematic.
Notably, multiple Penn trustees and the Chair of the Wharton School’s Board of Advisors were

41
   Vidya Pandiaraju, et al., Freedom School for Palestine sit-in enters second week despite threats from Penn
officials, DAILY PENNSYLVANIAN (Nov. 21, 2023), https://www.thedp.com/article/2023/11/penn-freedom-school-
palestine-teach-in-houston-goals.
42
   Freedom School for Palestine, Day 3 Program, Instagram (Nov. 16, 2023),
https://www.instagram.com/p/CztrGYgOJzE; Freedom School for Palestine, Program, Instagram,
https://acrobat.adobe.com/id/urn:aaid:sc:US:459aafd4-5cd5-4dff-b35b-7f791e1fff78.
43
   Zach Kessel, University of Pennsylvania Staff Donated to Organization Accusing Israel of ‘Jewish Supremacy’
and ‘Genocide’, NATIONAL REVIEW (Dec. 13, 2023), https://www.nationalreview.com/news/university-of-
pennsylvania-staff-donated-to-organization-accusing-israel-of-jewish-supremacy-and-genocide/
44
   Union for Reform Judaism, Insider’s Guide to College Life (Jul. 12, 2013),
https://issuu.com/reformjudaism/docs/college_reprint_cropped/15?e=5480200/4019908/; Hillel International,
University of Pennsylvania, https://www.hillel.org/college/university-of-pennsylvania.
45
   Id.
46
   Sara Weissman, Jewish Student Enrollment Is Down at Many Ivies, INSIDE HIGHER ED (May 8, 2023),
https://www.insidehighered.com/news/admissions/2023/05/08/jewish-student-enrollment-down-many-ivies
47
   Middle East Studies Association, Institutional Members, https://mesana.org/membership/institutional-members;
Press Release, Middle East Studies Association, Middle East Scholars Vote to Endorse BDS (Mar. 23, 2022),
https://mesana.org/news/2022/03/23/middle-east-scholars-vote-to-endorse-bds.
48
   Testimony, supra note 1
         Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 9 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 8 of 14

allegedly pressured to step down by Mr. Scott Bok, then-Chair of Penn’s Board of Trustees, after
signing onto an open letter calling for Penn to respond more strongly to the Palestine Writes
Literature Festival and its antisemitic speakers.49 The Director of Campus Rights Advocacy at
the Foundation for Individual Rights and Expression’s (FIRE) noted, “[t]he same administrators
now cloaking themselves in the mantle of free speech have been all too willing to censor all
kinds of unpopular stuff on their campuses” and “[i]t is such utter hypocrisy.”50

In June 2022, Penn Law Dean Ted Ruger took the extraordinary step of requesting Penn’s
Faculty Senate impose a “major sanction” on tenured law professor Amy Wax for “intentional
and incessant racist, sexist, xenophobic, and homophobic actions and statements” and that
“Wax’s conduct inflicts harm on [students, faculty, and staff] and the institution and undermines
the University’s core values.”51 This effort, which is ongoing, is widely perceived to be an effort
to strip Wax of her tenure and terminate her.52 In May 2022, amidst the controversies
surrounding Wax, Penn’s Faculty Senate’s Committee on Faculty Development, Diversity, and
Equity recommended creating a committee to examine “University and school-level procedures
related to balancing academic freedom and tenure protections with the need for faculty sanctions
(including possible tenure removal) for faculty misbehaviors."53

There are numerous additional cases of Penn canceling or sanctioning speech it disfavored. In
2013, following pressure from faculty and students, the Wharton India Economic Forum
canceled an invitation for India’s current Prime Minister Narendra Modi, who was then Chief
State Minister of Gujarat, to serve as its keynote speaker.54An expert critical of Modi
subsequently canceled his own participation in the forum in protest of the “shrill brand of
political correctness” at Penn.55 In a different kind of suppression, Penn delayed recognition of a
student Hunting, Archery, and Shooting club for over a year due to purported COVID pandemic-
related concerns, despite approving other groups, such as a surfing club, at the time. The club
was finally approved in April 2021 after pressure from FIRE.56 Another example came in May

49
   Jared Mitovich, Penn admin. allegedly ‘pressured' trustees to step down after publicly criticizing University,
DAILY PENNSYLVANIAN (Oct. 12, 2023), https://www.thedp.com/article/2023/10/penn-trustees-pressure-palestine-
writes-letter.
50
   Nicholas Confessore, As Fury Erupts Over Campus Antisemitism, Conservatives Seize the Moment, NEW YORK
TIMES (Dec. 10, 2023), https://www.nytimes.com/2023/12/10/us/universities-antisemitism-conservatives-
liberals.html.
51
   University of Pennsylvania Law Dean's Report Regarding Amy Wax (Jun. 23, 2022),
https://www.thefire.org/research-learn/university-pennsylvania-law-deans-report-regarding-amy-wax-june-23-2022
52
   Penn’s Faculty Handbook defines major sanctions as including, “termination; suspension; reduction in academic
base salary; zero salary increases stipulated in advance for a period of four or more years.” See: Faculty Handbook,
University of Pennsylvania, https://catalog.upenn.edu/faculty-handbook/ii/ii-e.
53
   Camellia Bui and Elea Castiglione, Faculty Senate committee recommends review of policies related to tenure
protections, DAILY PENNSYLVANIAN (Feb. 2, 2023), https://www.thedp.com/article/2023/02/penn-tenure-policies-
academic-freedom-amy-wax
54
   Tvisi Ravi, Protesters march against Wharton India Economic Forum, Daily Pennsylvanian (Mar. 23, 2013),
https://www.thedp.com/article/2013/03/protestors-march-against-wharton-india-economic-forum.
55
   Sadanand Dhume, Why I'm Not Speaking at Wharton, WALL STREET JOURNAL (Mar. 4, 2013),
https://www.wsj.com/articles/BL-IRTB-18128.
56
   Press Release, Foundation for Individual Rights and Expression,
       Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 10 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 9 of 14

2022, when the Chair of Penn’s Department of Medicine, Dr. Michael Parmacek, condemned
Professor Emeritus and former Associate Dean of the Perelman School of Medicine Stanley
Goldfarb for criticizing diversity, equity, and inclusion policies. Parmacek sent medical school
faculty and staff emails calling Goldfarb’s comments “racist statements” and arguing that they
“run counter to the anti-racist stance that has been adopted by Penn Medicine and the Penn
[Graduate Medical Education] community.”57

Given these examples, it is unsurprising that Penn was ranked second to last out of 248
institutions surveyed in FIRE’s 2024 College Free Speech Rankings.58 Penn’s dismal record on
free speech exposes the disingenuousness of its leadership’s rationalizations for its inaction
toward antisemitism on campus. On November 6, 2023, then-President Magill warned of the
“perniciousness of antisemitic acts on [Penn’s] campus.”59 But mere warnings are insufficient.
Jewish students at Penn continue to feel threatened by the explosion of antisemitic incidents on
campus.60

To assist the Committee in understanding the antisemitism crisis at Penn and the university’s
response, please produce the following items no later than February 7, 2024:

    1. All reports of antisemitic acts or incidents and related documents and communications
       since January 1, 2021, including but not limited to all reports of antisemitic acts,
       incidents, or discrimination made to the following:

             a. The Office of the President;

             b. The Office of the General Counsel;

             c. Penn University Life, including the Office of Student Affairs and the Diversity,
                Equity, Inclusion & Belonging office, and similar offices and programs within
                Penn’s undergraduate schools, graduate/professional schools, and other
                components, as well as any other reports made to the Office of the Provost;

             d. The Office of Affirmative Action and Equal Opportunity Programs;




BULLSEYE: University of Pennsylvania's Hunting, Archery, and Shooting Club finally approved after FIRE’s
intervention (Apr. 29, 2021), https://www.thefire.org/news/bullseye-university-pennsylvanias-hunting-archery-and-
shooting-club-finally-approved-after.
57
   Jack Crowe, UPenn Med School Leaders Turn on Former Dean over ‘Racist’ Affirmative-Action Criticism,
NATIONAL REVIEW (Jun. 1, 2022), https://www.nationalreview.com/news/upenn-med-school-leaders-turn-on-former-
dean-over-racist-affirmative-action-criticism/
58
   2024 College Free Speech Rankings, FOUNDATION FOR INDIVIDUAL RIGHTS AND EXPRESSION (Sept. 6, 2023),
https://rankings.thefire.org/rank.
59
   M. Elizabeth Magill, Responding to antisemitic threat to our campus, PENN TODAY (Nov. 6, 2023),
https://penntoday.upenn.edu/announcements/responding-antisemitic-threat-our-campus.
60
   FOX 29 PHILADELPHIA (Dec. 8, 2023), https://www.fox29.com/news/jewish-students-at-upenn-share-
concerns-about-antisemitism-on-campus.
      Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 11 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 10 of 14

          e. The Division of Public Safety, including the University of Pennsylvania Police
             Department;

          f. Any hotlines, inboxes, or other mechanisms that collect reports of bias,
             discrimination, and harassment;

          g. Penn Human Resources;

   2. Documents sufficient to show any Penn disciplinary, academic, personnel, administrative,
      or other processes through which allegations of hate crimes, discrimination, bias, or
      harassment are responded to, including but not limited to, any written policies,
      procedures, guidance, handbooks, rubrics, and/or tables of penalties. Please also identify
      the offices, individuals, boards, and/or bodies that are responsible for evaluating and/or
      determining such responses, including the composition of any offices, boards, or bodies;

   3. Documents sufficient to show Penn’s policies and procedures that ensure and preserve
      access to safe and uninterrupted learning environments and respond to and address
      reported violations, including through law enforcement, investigative, and disciplinary
      processes. Please also identify the offices, individuals, boards, and/or bodies that are
      responsible for evaluating and/or determining such responses, including the composition
      of any offices, boards, or bodies;

   4. Documents sufficient to show the findings and results of any disciplinary processes,
      changes in academic status, or personnel actions by Penn toward Penn students, faculty,
      staff, and other Penn affiliates related to conduct involving the targeting of Jews, Israelis,
      Israel, Zionists, or Zionism since January 1, 2021;

   5. Documents sufficient to show the findings and results of any disciplinary processes or
      changes in status by Penn toward Penn student organizations related to conduct involving
      Jews, Israelis, Israel, Zionists, or Zionism since January 1, 2021, including, but not
      limited to, Penn Students Against the Occupation and the Freedom School for Palestine;

   6. All documents and communications relating to or reflecting sources of funding for Penn
      Students Against the Occupation, the Palestine Writes Festival, and the Freedom School
      for Palestine, including but not limited to university, departmental, faculty, and student
      organization funds, as well as foreign donations;

   7. Documents sufficient to show findings and results of any disciplinary processes, changes
      in academic status, or personnel actions by Penn toward Penn students, faculty, staff,
      student organizations, and other Penn affiliates as a result of:

          a. allegations of hate crimes, discrimination, bias, or harassment on the basis of
             religion, ethnicity, national origin, sex, sexual orientation, gender identity, and
             disability at Penn since January 1, 2021;
      Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 12 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 11 of 14

          b. Reports of denial or disruption of access to safe and uninterrupted learning
             environments at Penn since January 1, 2021;

   8. Documents sufficient to show any legal, financial, or informal settlements by Penn in
      response to complaints of discrimination, harassment, or violations of free
      speech/expression since January 1, 2021;

   9. All documents and communications since January 1, 2021, referring and relating to
      antisemitism involving the Office of the President and Office of the Provost;

   10. All Penn Board of Trustees meeting minutes and/or summaries, whether formal or
       informal, since January 1, 2021, including minutes of meetings of any components, such
       as committees, executive committees, subcommittees, and task forces;

   11. All documents and communications since January 1, 2021, referring and relating to
       antisemitism, involving the Penn Board of Trustees (including all members);

   12. All documents and communications referring and relating to any efforts by the then-
       Chairman of the Board of Trustees and other Trustees, President, Provost, and other
       senior Penn leaders to address Penn trustees, trustees emeriti, and members of advisory
       boards (such as the Wharton Board of Advisors) signing onto an open letter critical of
       Penn’s response to the Palestine Writes Literature Festival, including by raising whether
       they should continue to serve in their roles;

   13. All documents and communications referring and relating to Penn’s Action Plan to
       Combat Antisemitism;

   14. Any meeting minutes, circulated materials, and/or readouts from Penn’s University Task
       Force on Antisemitism, and documents sufficient to show any findings and
       recommendations by the Task Force and any responses and reactions to such findings and
       recommendations by the President, Provost, deans of Penn’s various schools, and the
       staffs of the aforementioned university officials;

   15. Documents sufficient to show any changes to Penn’s governance documents and codes of
       conduct made since October 7, 2023;

   16. All documents and communications, including, but not limited to, those involving the
       Office of the President, Office of the Provost (including University Life), Division for
       Public Safety (including Penn Police Department), Penn Human Resources, and/or any
       other entities responsible for investigating and determining consequences for misconduct
       and violations of university standards, referring and relating to:

          a. The Palestine Writes Literature Festival;

          b. The activities of Penn Students Against the Occupation since October 7, 2023;
      Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 13 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 12 of 14


          c. Posts by Penn students, faculty, staff, and other Penn affiliates on Sidechat and
             other social media platforms targeting Jews, Israelis, Israel, Zionists, or Zionism;

          d. Anti-Israel protests at Penn, and any disruptions to education and student life
             related to them, since October 7, 2023, including but not limited to the October
             16, 2023, protest, Palestine Freedom School, and December 3, 2023, protest;

          e. The antisemitic vandalization of the Stuart Weitzman School of Design on or
             about September 14, 2023;

          f. The vandalization and arrest at Penn Hillel on or about September 21, 2023;

          g. The vandalization of a property next to the Alpha Epsilon Pi House on or about
             October 20, 2023;

          h. The antisemitic emails received by multiple Penn staff members on or about
             November 6, 2023;

          i. The projection of anti-Israel phrases onto university buildings on or about
             November 8, 2023;

          j. The destruction or unauthorized removal of posters featuring Israeli hostages
             abducted by Hamas;

          k. The posting of “Missing Cow” posters similar in appearance and design to posters
             featuring Israeli hostages abducted by Hamas;

   17. All documents and communications including, but not limited to, those involving the
       Office of the President, Office of the Provost (including University Life and its Office of
       Diversity, Equity, Inclusion, & Belonging), and/or any academic departments, programs,
       and centers, referring or relating to any efforts by Penn students, faculty, and staff to
       engage in the BDS movement against Israel since January 1, 2021, and communications
       by Penn administrators relating to such efforts;

   18. All products of the Penn Office of Diversity, Equity, Inclusion, & Belonging or similar
       offices from any Penn components since January 1, 2020, relating to Jews and/or
       antisemitism, including but not limited to reports, publications, presentations, personal or
       professional development materials, guidance, and other related materials;

   19. Documents sufficient to show the mandate, size, budget, agenda, and performance
       metrics of the Penn Office of Diversity, Inclusion, & Belonging and any similar offices
       from any Penn components, including documents sufficient to show any updates to the
       mandate, size, budget, agenda, or performance metrics of such offices since October 7,
        Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 14 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 13 of 14

        2023;

     20. Documents sufficient to show all Penn policies concerning the acceptance and rejection
         of donations from foreign sources, including Penn’s policies concerning:

             a. faculty and staff receiving and disclosing donations and funding from foreign
                sources;

             b. donations and funding from foreign sources being directed toward academic
                departments, programs, and centers;

     21. Documents sufficient to show the annual total amount of foreign donations and funding
         (including, but not limited to, governmental bodies, nongovernmental organizations, and
         private individuals) to Penn since January 1, 2021, by country;

     22. Documents sufficient to show all foreign donations and funding (including, but not
         limited to, governmental bodies, nongovernmental organizations, and private individuals)
         to Penn of $50,000 or more since January 1, 2021;

     23. Documents sufficient to show all donations and funding (including, but not limited to, the
         Qatar Foundation, governmental bodies, nongovernmental organizations whether
         incorporated in Qatar or elsewhere, and private individuals) to Penn from Qatari sources
         since January 1, 2021;

     24. Documents sufficient to show any data since January 1, 2003, showing or relating to
         Jewish enrollment numbers at Penn’s undergraduate colleges and each of its graduate and
         professional schools, and any changes or trends in the enrollment of Jewish students at
         Penn’s undergraduate colleges and Penn’s graduate/professional schools, and documents
         related to any attempt by Penn’s administration, undergraduate colleges (including the
         undergraduate Office of Admissions), and each of Penn’s graduate and professional
         schools to understand the reasons for any such changes or trends; and

     25. All documents and communications involving the Office of the President, the Office of
         the Provost, dean’s offices at each of Penn’s undergraduate and graduate/professional
         schools, Penn’s undergraduate Office of Admissions and each of Penn’s
         graduate/professional schools, and the Penn Board of Trustees since January 1, 2013,
         relating to recruitment, admission, enrollment, and retention of Jewish students.61




61
  For the avoidance of doubt, the Committee is not seeking the application materials of individual applicants and
students.
        Case 2:24-cv-01034-MSG Document 47-2 Filed 09/30/24 Page 15 of 15

Mr. Ramanan Raghavendran and Dr. Larry Jameson
January 24, 2024
Page 14 of 14

Congress’ oversight powers are derived from the U.S. Constitution and have been affirmed
repeatedly by the United States Supreme Court.62 Under House Rule X, the Committee has
legislative and oversight jurisdiction over “education or labor generally.”63

Please see the attached instructions for relevant definitions and other directions for the
production of documents. This request encompasses responsive materials in the possession of not
only Penn faculty, staff, students, and other affiliates but also individual members of the Penn
Board of Trustees. The request also extends to any informal communications such as text or
other electronic messages. We expect that this request will be conveyed promptly to all parties
who would be reasonably expected to have responsive materials.

If you have any questions about this request, please contact Ari Wisch of the Committee staff at
202-225-4527 or ari.wisch@mail.house.gov.

Sincerely,



Virginia Foxx
Chairwoman
Committee on Education and the Workforce




62
   See generally U.S. CONST. art. I, § 8, cl. 8; McGrain v. Daugherty, 273 U.S. 135, 174 (1927) (holding that “the
power of inquiry—with process to enforce it—is an essential and appropriate auxiliary to the legislative function”);
Eastland v. U.S. Servicemen's Fund, 421 U.S. 491, 504 (1975) (holding that “the power to investigate is inherent in
the power to make laws”); Barenblatt v. United States, 360 U.S. 109, 111 (1959) (holding that “the scope of power
of inquiry … is as penetrating and far-reaching as the potential power to enact and appropriate under the
Constitution.”).
63
   Rules of the House of Representatives: One Hundred Eighteenth Congress, U.S. HOUSE OF REP. 7 (Jan. 10, 2023),
https://rules.house.gov/sites/republicans.rules118.house.gov/files/documents/Rules%20and%20Resources/118-
House-Rules-Clerk.pdf.
